Case: 1:20-cv-04046 Document #: 175-2 Filed: 06/27/24 Page 1 of 2 PagelD #:746

OFFENSE/INCIDENT REPORT

cates COOK COUNTY SHERIFF'S POLICE DEPARTMENT

L Case Report Number

SH-19-00053406

2. Offense/Incident

UCR Cade - Location Code . Beat of Occurrence
7254 [" 1930 "42

Assist Citizen
7. Addreso/Location of Occurrence (Township) |8. Type of Place of Occurrence , Date 10. Time of Occurrence 11, Unit Assipned
7038 w. 72nd St Stickney Residence 25 Feb 19 1130 §242
12, Victim Name (Last, First, Middle) (Firm or Business Name) 13. Sex [14.Race 15. Date of Birth $16, Home Phone TF. Basten Phos 8. Pager or Cel] Phone
dna
19. Victim Address of Employment 21, Sobnety of Vichm |
dna HBD []¥es [No
22. Victim Injured 23. Treated At: 4. Treated By: . Medical Exmminer Notified | Time Notified a.
[ives [Jno dna (Released Balpna CJUNFOUNDED
27. Person(s) Involved | V- Vietion W - Witness G - Guardian MP- Missing Person C-Complsinant PN - Person Notified
Identifier Codes: $ - Suspect J+ Juvenile SP - Spouse MI - Missing Juvenile P- Parent 0 - Other (Specify)
Code Name (Last / First / M1) Sex [Race || Date of Birth - Address Phone Numbers (Include A/C)
c | comverie | ¢ fy ER 22256100060 =
‘Business or Other:
oO Ferguson, Timothy milw eae Chicago 1160638 fame
Business or Other:
Home:
(Business or Other:
28, Suspect or Missing Person Description Hair Complexion Nickname or Alias/Clothing/Distinguishing Marks, Tartoas, Piercing ’ Place Employed/Other Phone
cok An Tm 7 Build | Color Style | Eyes Number/Associates/Places Known to Frequent or Other Pertinent Infermats
dna
29. Vehicle Information Message Number Ciisrern [[]type3
Code Color Year | Make Model Body Style} License No. State | Year Vehicle Identification Number (V_LN) Towed Hold
dna Cl¥es [No [[]¥es [Jno
ives [ino [ves Ne
' Code [Distinguishing Damage/Characterisnes By; siiagmshing Damage/Charactensics Insured By:
30. Wespon{s)  [JUsed  L]Displayed [cht of Bludgeon Instrument - Other Means of Attack (or Possible Tool)
Civaadgun [rine shotgun C]knifeOther Cutting Instrument DNA
32. Property Tekenby Offender []¥es []No [23 Property Recovered [ves ["[No (Describe in Narrative} {34, Evidence Taken By R/O L.] Yes [No [J Hold For Seizure Action
(Describe in Narrative) faventory Number(s) DNA Inventory Number(s} DNA
35, Arrestee(s) Name Sex | Race DOB Charges (Section) (Description) AB Number
DNA . -
36, Narrative: a o
In summary: R/O arrived on scene and Spoke to Gow, V. who related she is the executor of the = =
property located above. Gow related there are tenants living at the above residence who should not © §
be in the residence per a judges order and that the house in currently in probate court (case #2018 Q a
P 006690). Gow did not have the court order with her at the time of this report for verification. Gow ©:
related Ferguson rented the house to tenants in February 2019 and wants the tenants removed per| @}
the court order.
on Reverse BS .
37, Name/Star No. of Detective Notified ‘Time Notified (38. Name/Star No, of Detective on Scene Time Arrived 39. Name/Star No. Of Supervisor on Scenc (| Tims Arrived
dna Hrs, dna Hrs, Bapna Hrs,
40. Reporting Officer Neme/Star No, (Print) |41 Assigned By- (42. Date and Time Assigned 43, Date and Time Report Approved :
J. Plybon #253 Be Piste. 25 Feb 19-1131 His, Hh 5A 1G _ QAO ,,.

0 CRE?

45. Date and Time Arrived

46. Dute end Time Report Completed 47, is ; fature/Star No.)
25 Feb 19-1146 4. 25 Feb 19-1315 Hm SA Op

CcsPp 05-024 07-25-07 RAD

Case: 1:20-cv-04046 Document #: 175-2 Filed: 06/27/24 Page 2 of 2 PagelD #:747

Nartative Cont. [crs SH-19-00053406 |

Ferguson, T. related he rented the house to tenants in January 2019 and that they have the right to not
being evicted until ordered by a judge. Ferguson related he has been renting the house in order to pay for
ithe yearly taxes. Ferguson related he gave the tenants a rental agreement which he could not produce at
the time of this report.

jNeither party was willing to discuss a resolution to the matter while in R/O's presence. R/O iearned from
the C.C. Communications Center that CCSPD has been to this residence on two other occasions in the
last couple weeks for similar incidents. R/O advised both parties that this is a civil matter and that both
parties should seek jegal remedies in court.

iR/O's body worn camera was activated during the incident.

Nothing further.

